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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS

   KIM YOUNG, RONALD JOHNSON,                                   )
   WILLIAM JONES, ALLEN GORMAN,                                 )
   GERRAD LAMOUR, LEE MERCADO,                                  )
   BRADLEY HYTREK, CARL GRAY, and                               )    No: 06-CV-552
   MATTHEW LIPTAK, on behalf of themselves                      )
   and a class of others similarly situated,                    )    JUDGE KENNELLY
                                                                )
                          Plaintiffs,                           )    JURY TRIAL DEMANDED
                                                                )
          v.                                                    )
                                                                )
   COUNTY OF COOK and TOM DART,                                 )
   Sheriff of Cook County,                                      )
                                                                )
                                                                )
                          Defendants.                           )


               CLASS ACTION RELEASE AND SETTLEMENT AGREEMENT

          This Class Action Release and Settlement Agreement (“Agreement”) is made between

   and among (1) Kim Young, Ronald Johnson, William Jones, Allen Gorman, Gerrad Lamour,

   Lee Mercado, Bradley Hytrek, Carl Gray, and Matthew Liptak, (collectively, the “Named

   Plaintiffs”), individually and as representatives of the Settlement Classes defined in

   Paragraph 10 below (collectively, “Plaintiffs”), and counsel for the Named Plaintiffs and the

   Settlement Classes, Michael Kanovitz, Esq., and the law firm of Loevy & Loevy, on the one

   hand; and (2) the County of Cook and Tom Dart, Sheriff of Cook County (“Defendants”), on

   the other hand (collectively, the “Parties”).

                  1.      This Agreement is entered into to effect a full and final settlement and

   dismissal with prejudice all claims against Defendants in the above-captioned lawsuit (the

   “Action”) on the terms set forth below, subject to the approval of the Court. The Parties

   acknowledge that this Settlement Agreement is contingent upon the Finance Committee of

   the Cook County Board of Commissioners giving its approval to the settlement, and that if

   the settlement is not so approved by the time of the Mailed Notice Date (as defined below),
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   the Settlement Agreement, and any preliminary approval of the settlement shall have no force

   or effect, and the Parties will be returned to the status quo ante with respect to this Action as

   if this Agreement had never been entered into (other than as to notice and claims

   administrator costs which may have been incurred), as further set forth in Paragraphs 53-55.

                                             RECITALS

                  2.       This is a class action, in which Plaintiffs claim that the Sheriff of

   Cook County violated the United States Constitution by maintaining a policy and practice of

   conducting blanket strip searches and/or visual body cavity searches during the initial

   admission process at Cook County Jail (hereinafter, “Jail”) on pre-trial new admission

   detainees charged with misdemeanors or lesser offenses not involving drugs or weapons; and

   by maintaining a policy and practice of conducting strip searches and/or visual body cavity

   searches of pre-trial male new admission detainees in an unconstitutional manner during the

   initial admission process at the Jail. Defendants have denied and continue to deny these

   claims and further deny that they have engaged in any wrongdoing whatsoever.

   The Court previously certified two litigation classes in this Action. The first certified class,

   known as “Class I,” consisted of “All males who were subjected to a strip search and/or

   visual body cavity search as a new detainee at the Cook County Jail after January 30, 2004.”

   The second certified class, known as “Class II,” consisted of “All people (male and female)

   charged with a misdemeanor or lesser offense not involving drugs or weapons who were

   subjected to a strip search and/or a visual body cavity search as a new detainee at the Cook

   County Jail after January 30, 2004.” Class I claimed that the manner in which the strip

   searches and/or visual body cavity searches were conducted was abusive and violated the

   Fourth Amendment’s prohibition against unreasonable searches, the Fourteenth

   Amendment’s Due Process Clause, and the Fourteenth Amendment’s Equal Protection

   Clause. Class II claimed that the blanket policy of conducting strip-searches and/or visual



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   body cavity searches on individuals detained on suspicion of misdemeanor or lesser offenses

   not involving drugs or weapons violated the Fourth Amendment’s prohibition against

   unreasonable searches. Prior judicial determinations in this case have held in favor of Class I

   and Class II on the issue of liability as to all of their claims. Specifically, in February of

   2009, the Court granted summary judgment to all members of Class II and to those members

   of Class I who were admitted to the Jail prior to February of 2007. Thereafter, the Court held

   a trial on the claims of members of Class I admitted to the Jail between February of 2007 and

   March 30, 2009. On August 13, 2009, the jury found that the Office of the Sheriff of Cook

   County violated the constitutional rights of these additional class members. Neither the

   Court’s summary judgment rulings nor the trial determined the damages to Class I or Class II.

   The Parties recognize the risk, expense, difficulty and uncertainty associated with resolving

   the issue of damages on a class-wide basis and any appeals that may follow, as well as the

   uncertainty inherent in complex litigation, and have concluded that the settlement as set forth

   in this Agreement is fair, reasonable, adequate, and in the best interests of all Parties. The

   Parties have reached this Agreement at arms’ length, after consultation with their independent

   advisors and attorneys, in order to resolve these disputes conclusively without the

   uncertainty, expense, and delay of further litigation, pursuant to the terms set forth herein.

                                      SETTLEMENT TERMS

                           Preliminary Certification of Settlement Classes

                  3.       This Settlement Agreement shall fully and finally settle all individual

   and class action claims against Defendants that were asserted in the Action, as further

   provided in Paragraphs 49 and 50 of this Agreement.

                  4.       The parties to this Agreement are sometimes referred to as “the

   Parties” and include:




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                          (a)        The Named Plaintiffs, Kim Young, Ronald Johnson, William

                  Jones, Allen Gorman, Gerrad Lamour, Lee Mercado, Bradley Hytrek, Carl

                  Gray, and Matthew Liptak, individually, and on behalf of the Settlement

                  Classes, as defined in Paragraph 10; and

                          (b)        The Defendants, the County of Cook and Office of the Sheriff

                  of Cook County.

                  5.      The “Released Parties” consist of Defendants, the County of Cook and

   Office of the Sheriff of Cook County, and all of their future, current, and former officers,

   agents, and employees.

                  6.      Counsel for the Named Plaintiffs and the Settlement Classes are

   Michael Kanovitz and the law firm of Loevy & Loevy. They are referred to as “Class

   Counsel.”

                  7.      The “Claims Administrator” refers to Rust Consulting, Inc.

                  8.      The “Settlement Fund” means the sum total of settlement

   administration and notice costs, attorneys’ fees and costs, Incentive Awards, and claims

   payments, which, in sum total, shall consist of a $55 million cash fund, plus an assignment by

   Defendants to Plaintiffs of certain insurance claims, as further set forth in Paragraph 28.

                  9.      “Claimant” means a potential member of one or more of the Settlement

   Classes who submits a claim for settlement payment pursuant to the terms of this Agreement.

                  10.         The Parties stipulate to certification, for settlement purposes only, of

   the two Settlement Classes (collectively “Settlement Classes,” and individually, “Settlement

   Class I” and “Settlement Class II”) defined as follows:

                        (a)          Settlement Class I is defined as:

                          All males who were subjected to a strip search and/or visual body
                          cavity search as a new detainee at the Cook County Jail between
                          January 30, 2004 and March 30, 2009.



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                         (b)      Settlement Class II is defined as:

                           All people (male and female) charged with a misdemeanor or lesser
                           offense not involving drugs or weapons who were subjected to a strip
                           search and/or a visual body cavity search as a new detainee at the Cook
                           County Jail between January 30, 2004 and March 30, 2009.

                           (c)    Named Plaintiff Kim Young is a class representative for

                  Settlement Class II. Named Plaintiffs Allen Gorman, Bradley Hytrek,

                  William Jones, Gerrad Lamour, Matthew Liptak, and Lee Erick Mercado are

                  class representatives for Settlement Classes I and II. Named Plaintiffs Carl

                  Gray and Ronald Johnson are class representatives for Settlement Class I.

                           (d)    Excluded from these Settlement Classes are the following

                  persons:

                                  (i)     Members of the Northern District of Illinois federal
                                  judiciary and their immediate families; and

                                  (ii)    All persons who timely elect to opt out of (i.e., exclude
                                  themselves) from the Settlement Classes in accordance with the
                                  Court’s Orders, as well as all persons who timely elected to opt
                                  out of the Litigation Classes on or before February 12, 2009
                                  pursuant to the Court’s Notice in this case.

                  11.      Solely for purposes of implementing this Agreement and effectuating

   the settlement, Defendants stipulate that the Court may enter an Order certifying the

   Settlement Classes, appointing Named Plaintiffs as representatives of the Settlement Classes

   (as set forth in Paragraph 10), and appointing the following as Class Counsel for the

   Settlement Classes:

                                  Michael Kanovitz
                                  Loevy & Loevy
                                  312 North May Street, Suite 100
                                  Chicago, Illinois 60607
                                  Telephone: (312) 243-5900
                                  Facsimile: (312) 243-5902
                                  Email: mike@loevy.com




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                  12.      Solely for the purpose of implementing this Agreement and

   effectuating the settlement, the Parties stipulate that the following shall be appointed as

   Claims Administrator:

                                  Rust Consulting, Inc.


                  13.      Solely for the purpose of implementing this Agreement and

   effectuating the settlement, Defendants stipulate that the Named Plaintiffs are adequate

   representatives of the Settlement Classes, as set forth in Paragraph 10.

                  14.      The Parties shall promptly move the Court to enter an order (the

   “Preliminary Approval Order”) that is without material alteration from Exhibit A hereto, and

   that, among other things:

                           (a)    preliminarily approves this Agreement;

                           (b)    preliminarily certifies the Settlement Classes defined herein,

                  with the Named Plaintiffs approved as class representatives of the Settlement

                  Classes as set forth in Paragraph 10, and Loevy & Loevy appointed as Class

                  Counsel for the Settlement Classes;

                           (c)    schedules a fairness hearing on final approval of this

                  Agreement (the “Final Approval Hearing”) to consider the fairness,

                  reasonableness, and adequacy of the proposed settlement and whether it

                  should be finally approved by the Court, as well as to determine the Attorneys’

                  Fee Award;

                           (d)    finds the settlement to be sufficiently fair to warrant providing

                  notice to the Settlement Classes;

                           (e)    appoints Rust Consulting, Inc. as Claims Administrator;

                           (f)    approves the form of mailed notice (the “Mailed Notice”), the

                  content of which is without material alteration from Exhibit B hereto, and


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               directs its mailing to potential members of the Settlement Classes by first class

               U.S. mail, postage prepaid, to the last-known address for each such person

               reflected in Cook County Department of Corrections’ records, in accordance

               with the procedures set forth in Paragraphs 15 and 16, and, for Mailed Notices

               returned, directs the Claims Administrator to follow the procedures set forth in

               Paragraph 20;

                      (g)      approves the form of published notice (the “Published Notice”),

               the content of which is without material alteration from Exhibit C hereto, and

               directs that it be published in accordance with the Notice Plan, as set forth in

               Paragraph 14(h);

                      (h)      approves the notice plan (the “Notice Plan”), which shall

               consist of: (i) sending mailed notice directly to potential members of the

               Settlement Classes as set forth in Paragraph 14(f) and Paragraphs 15, 16, and

               20; (ii) publishing the Published Notice in the following publications: La Raza

               (Spanish-language weekly publication), the Chicago Sun Times (weekday

               publication), the Chicago Defender (weekday publication), and Prison Legal

               News (monthly publication), by placing the Published Notice in each of the

               foregoing publications as a 1/4 page ad located in the main body of the paper

               (not the classified section) in two print cycles; (iii) publishing a Claim Form in

               Prison Legal News in two print cycles; (iv) a website, which the Claims

               Administrator shall maintain as described in Paragraph 19; and (v) by posting

               the Published Notice inside the Cook County Jail Receiving Classification and

               Diagnostic Center (“RCDC”) in a location that is accessible and visible to

               detainees;




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                      (i)     and finds that it satisfies the requirements of due process and

               federal law;

                      (j)     approves the settlement website as described in Paragraph 19

               which may be amended during the course of the settlement as appropriate and

               agreed to by the Parties, and which shall be maintained until the Court enters

               an order relinquishing jurisdiction;

                      (k)     directs the Claims Administrator to maintain a toll-free VRU

               telephone system containing recorded answers to frequently asked questions,

               along with an option permitting potential Settlement Class members to speak

               to live operators or to leave messages in a voicemail box;

                      (l)     approves the claim forms, the contents of which are without

               material alteration from Exhibit D hereto, for distribution to potential

               members of the Settlement Classes, and sets a date after which Claim Forms

               shall be deemed untimely (as further provided in Paragraph 24 below);

                      (m)     determines that the Notice Plan, including the Mailed Notice

               and Published Notice, (i) is the best practicable notice; (ii) is reasonably

               calculated, under the circumstances, to apprise potential members of the

               Settlement Classes of the pendency of the Action and of their right to object or

               to exclude themselves from the proposed settlement; (iii) is reasonable and

               constitutes due, adequate, and sufficient notice to all persons entitled to

               receive notice; and (iv) meets all applicable requirements of due process and

               federal law;

                      (n)     requires the Claims Administrator, at or before the Final

               Approval Hearing, to file proof of mailing of the Mailed Notice, as well as a

               list of all persons who timely requested exclusion from the Settlement Classes



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               (along with an affidavit attesting to the accuracy of that list (the “Opt-Out

               List”));

                          (o)   requires each potential member of the Settlement Classes who

               wishes to exclude himself or herself from the Settlement Classes to submit an

               appropriate, timely request for exclusion, received no later than forty-five (45)

               days after the mailing is initially completed (the “Mailed Notice Date”), to the

               Claims Administrator at the address in the Mailed Notice, and further requires

               that any requests for exclusion be exercised individually by a Settlement Class

               member, not as or on behalf of a group, class, or subclass, except that such

               requests may be submitted on behalf of an individual Settlement Class

               Member by the executor or administrator of a deceased Settlement Class

               Member’s estate, or the legal guardian of a Settlement Class Member who has

               been declared incompetent, or a person with a valid Power of Attorney from

               the Settlement Class Member. In the case of Settlement Class Members

               whose mailing was returned to the Claims Administrator as undeliverable and

               to whom a Notice and Claim Form was re-mailed to a different, current

               address, the deadline for receipt of the request for exclusion shall be extended

               by 14 days;

                          (p)   preliminarily enjoins all potential members of the Settlement

               Classes unless and until they have properly and timely excluded themselves

               from the Settlement Classes (i) from filing, commencing, intervening in, or

               participating as plaintiff, claimant, or class member in any other lawsuit or

               administrative, regulatory, arbitration, or other proceeding in any jurisdiction

               asserting the same claims set forth in the Fifth Amended Complaint in this

               Action and/or the Released Claims (as defined in Paragraph 48); (ii) from



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               filing or commencing, a lawsuit or administrative, regulatory, arbitration, or

               other proceeding as a class action on behalf of any members of the Settlement

               Classes who have not properly and timely excluded themselves (including by

               seeking to amend a pending complaint to include class allegations or seeking

               class certification in a pending action), asserting the same claims set forth in

               the Fifth Amended Complaint in this Action and/or the Released Claims; and

               (iii) from attempting to effect an opt-out of a class of individuals in any

               lawsuit or administrative, regulatory, arbitration, or other proceeding asserting

               the same claims set forth in the Fifth Amended Complaint in this Action

               and/or the Released Claims (as defined in Paragraph 48);

                      (q)     rules that any potential member of the Settlement Classes who

               does not submit a timely, written request for exclusion from the Settlement

               Classes will be bound by all proceedings, orders, and judgments in the Action,

               even if such person subsequently initiates individual litigation or other

               proceedings encompassed by the Released Claims (as defined in Paragraph

               48);

                      (r)     requires each member of the Settlement Classes who has not

               submitted a timely request for exclusion from the Settlement Classes and who

               wishes to object to the fairness, reasonableness, or adequacy of this

               Agreement or the proposed settlement, or the Attorneys’ Fee Award, or

               Incentive Awards, to mail to the Claims Administrator (who shall promptly

               forward it to Class Counsel and Counsel for Defendants) and to file with the

               Court a statement of the objection, as well as the specific legal and factual

               reasons, if any, for each objection, including any support the member of the

               Settlement Classes wishes to bring to the Court’s attention and all evidence the



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               member of the Settlement Classes wishes to introduce in support of his or her

               objection, or be forever barred from objection, as follows: the objection must

               contain (1) a heading that refers to the Action by case name (Young v. County

               of Cook) and case number (06-CV-552); (2) a statement whether the objector

               intends to appear at the Final Approval Hearing, either in person or through

               counsel and, if through counsel, a statement identifying that counsel by name,

               bar number, address, and telephone number; (3) a statement of the specific

               legal and factual basis for each objection; (4) a list of any witnesses the

               objector may call at the Final Approval Hearing, with the address of each

               witness and a summary of his or her proposed testimony; and (5) a description

               of any and all evidence the objector may offer at the Final Approval Hearing.

               Objections will be deemed untimely unless they are received by the Claims

               Administrator and filed with the Court no later than forty-five (45) days after

               the Mailed Notice Date, and in the case of Settlement Class Members whose

               mailing was returned to the Claims Administrator as undeliverable and to

               whom a Notice and Claim Form was re-mailed to a different, current address,

               the deadline for receipt of objections shall be extended by 14 days;

                      (s)     provides that the rights to object to the proposed settlement

               must be exercised individually by a Settlement Class member or his or her

               attorney, not as a member of a group, class, or subclass, and, except in the case

               of a deceased or incapacitated Settlement Class member, not by the act of

               another person acting or purporting to act in any other representative capacity,

               unless that person is legally authorized to do so;

                      (t)     requires any attorney hired by a member of the Settlement

               Classes at the Settlement Class member’s expense for the purpose of objecting



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               to this Agreement or to the proposed settlement, or to the Attorneys’ Fee

               Award or Incentive Award, to mail to Claims Administrator (who shall

               promptly forward it to Class Counsel and Counsel for Defendant) and to file

               with the Clerk of the Court a notice of appearance within the time period

               allowed for the Settlement Class Member’s filing of the objection;

                      (u)     directs the Claims Administrator to rent a post office box to be

               used for receiving requests for exclusion, objections, notices of intention to

               appear, and any other non-privileged communications, and providing that only

               the Claims Administrator, Class Counsel, Defendant, the Court, the Clerk of

               the Court, and their designated agents shall have access to this post office box,

               except as otherwise expressly provided in this Agreement; and finds that if any

               privileged communications are disclosed to the Class Administrator, the

               Court, Defendant, or Counsel for Defendant, the privilege has not been waived

               by such disclosure;

                      (v)     directs the Claims Administrator and/or Class Counsel

               promptly to furnish Class Counsel, Counsel for Defendant, and the Claims

               Administrator with copies of any and all objections, exclusions, or notices of

               intention to appear, that come into its possession (except as expressly provided

               in this Agreement);

                      (w)     contains any additional provisions agreeable to the Parties that

               might be necessary to implement the terms of this Agreement and the

               proposed settlement; and

                      (x)     finds that preliminary approval of the settlement is contingent

               upon Finance Committee of the Cook County Board of Commissioners giving

               its approval to the settlement, and that if the Settlement Agreement is not so



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                  approved by the Mailed Notice Date, the settlement, the Settlement

                  Agreement, and the Court’s preliminary approval of the settlement shall have

                  no further force or effect, and the Parties will be returned to the status quo

                  ante with respect to this Action as if this Agreement had never been entered

                  into (other than as to notice and claims administrator costs which may have

                  been incurred), or the settlement preliminarily approved, as further set forth in

                  Paragraphs 53-55.



                              Class Notice and Opt-Out Procedures

                  15.     Within twenty (20) days of the entry of the Preliminary Approval

   Order, the Claims Administrator shall cause the Mailed Notice, along with the Claim Form,

   to be mailed by first class U.S. mail postage pre-paid to the last-known address of each

   potential member of the Settlement Classes whose names and last-known addresses are

   reasonably ascertainable from the Cook County Department of Corrections records, as agreed

   to by the Parties. Prior to the mailing, the Claims Administrator shall use address updating

   services, including but not limited to Lexis SmartLinx and the National Change of Address

   Database, to verify the accuracy of the addresses of all potential Settlement Classes members,

   the costs of which are included in the administration costs described in Paragraph 29. In

   addition, the Claims Administrator shall use reasonable efforts to identify any Settlement

   Class members who are currently in the custody of the Illinois Department of Corrections

   and/or the Office of the Sheriff of Cook County, the costs of which are included in the

   administration costs described in Paragraph 29, and for those members who are so identified,

   Mailed Notice and the Claim Form shall be mailed to the Settlement Class Members at the

   respective individual facility at which they are being held.




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                  16.     If, as a result of the mailing, a forwarding address is provided by the

   Postal Service, but the Mailed Notice is not forwarded by the Postal Service, the Claims

   Administrator will re-mail the Mailed Notice to the forwarding address. In the event that any

   such Mailed Notice is returned as undeliverable a second time, no further mailing shall be

   required. In the case of Settlement Class Members whose Mailed Notice and/or Claim

   Forms are returned as undeliverable, if the Claims Administrator obtains a current address for

   any such Settlement Class Member, the Claims Administrator shall re-mail the Mailed Notice

   and Claim Form to the current address.

                  17.     The Claims Administrator shall effectuate the Published Notice, as set

   forth in further detail in Exhibit C and Paragraphs 14(g) and 14(h).

                  18.     The Claims Administrator shall maintain a toll-free VRU telephone

   system containing recorded answers to frequently asked questions, along with an option

   permitting potential Settlement Class members to speak to live operators or to leave messages

   in a voicemail box. The Claims Administrator will also maintain a non-toll free telephone

   number to speak with live operators.

                  19.     The Claims Administrator shall maintain a website for this settlement

   as set forth in Paragraph 14(j). The website shall include, at a minimum, copies of the

   Settlement Agreement (including exhibits), the Mailed Notice, the Claim Form, and the

   Preliminary Approval Order, and may be amended as appropriate during the course of the

   settlement as agreed to by the Parties. The Mailed Notice and Claim Form shall also be made

   available in Spanish upon the request of a Claimant and posted on the website. The Parties

   will notify each other of the receipt of any request for exclusion or objection to this

   Agreement received from a member of the Settlement Classes within two (2) business days of

   receipt.




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                  20.     As set forth above, in the case of Settlement Class Members whose

   Mailed Notice and/or Claim Forms are returned as undeliverable, if the Claims Administrator

   subsequently obtains a current address for any such Settlement Class Member, the Claims

   Administrator shall re-mail the Mailed Notice and Claim Form to the current address, and the

   deadlines for any such Settlement Class Member shall be extended as follows: the postmark

   deadline for submitting a Claim Form, the deadline by which the Claims Administrator must

   receive objections and the objections must be filed with the Court, and the deadline by which

   the Claims Administrator must receive exclusions, shall each be extended by fourteen (14)

   days.

                  21.     The Named Plaintiffs agree that they shall not elect or seek to opt out

   or exclude themselves from the Settlement Class(es).

                  22.     All potential members of the Settlement Classes who do not timely and

   properly exclude themselves from the Settlement Classes shall be bound by this Agreement,

   and all their claims that are brought in this Action shall be dismissed with prejudice and

   released as set forth in Paragraphs 49 and 50, even if they never received actual notice of the

   Action or this settlement.

               Claim Forms and Certain Settlement Administration Procedures

                  23.     The Claim Form shall be without material alteration from Exhibit D.

                  24.     To be eligible for any monetary relief set forth in Paragraph 34, a

   Settlement Class(es) Member must (a) truthfully, accurately to the best of his or her ability,

   and completely fill out the Claim Form; (b) sign the Claim Form under penalty of perjury;

   and (c) mail the Claim Form on or before forty-five (45) days after the Mailed Notice Date to

   the Claims Administrator and/or Class Counsel, except in the case of Settlement Class

   Members whose Mailed Notice and/or Claim Forms are returned as undeliverable and for

   whom the Claims Administrator re-mails the Mailed Notice and Claim Form to the current



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   address, for whom the postmark deadline for submission of claim form shall be extended by

   fourteen (14) days (i.e., fifty-nine (59) days after the Mailed Notice Date).

                  25.      Claim Forms must be signed by the Settlement Class Member, except

   that Claim Forms may be submitted on behalf of a Settlement Class Member by (1) the

   executor or administrator of a deceased Settlement Class Member’s estate, (2) the legal

   guardian of a Settlement Class Member who has been declared incompetent, or (3) a person

   with a valid Power of Attorney from the Settlement Class Member.

                  26.      The Claims Administrator will be responsible for all tax withholding

   and reporting as required by law, including for issuing any necessary IRS 1099 form(s) to

   Settlement Class Members.

                            Settlement Class Recovery, Costs of Notice,
                        Incentive Awards, and Attorneys’ Fees and Expenses

                  27.      Defendants shall be responsible for the funding of a settlement fund

   (the “Settlement Fund”). The Settlement Fund shall include $55,000,000.00 in cash, to be

   funded by Defendants.

                  28.      Assignment of Claims.

                           (a)    Cook County and the Sheriff of Cook County will assign to

                  plaintiffs, to the fullest extent permitted by law, all claims and rights to

                  payment from the following insurance policies (collectively, the “Insurance

                  Policies”) in connection with the claims asserted in Young v. County of Cook,

                  et al. and/or the settlement thereof, whether arising under the policies

                  themselves or the common law, or pursuant to statute, and whether sounding

                  in contract, tort, or otherwise, as well as for any actions the insurers have

                  taken or refused or failed to take in connection with the claims asserted in

                  Young v. County of Cook, et al. and/or the settlement thereof:



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   •     Insurance Company of the State of Pennsylvania Policy No. 6034672, effective
         December 31, 2003 to December 31, 2004;

   •     Insurance Company of the State of Pennsylvania Policy No. 6041577, effective
         December 31, 2004 to December 31, 2005;

   •     Insurance Company of the State of Pennsylvania Policy No. 8766984, effective
         December 31, 2006 to December 31, 2007;

   •     Lexington Insurance Company Policy No. 7577060, effective December 31, 2006 to
         December 31, 2007;

   •     Insurance Company of the State of Pennsylvania Policy No.4890591, effective
         December 31, 2007 to December 31, 2008;

   •     Lexington Insurance Company Policy No. 1071788, effective December 31, 2007 to
         December 31, 2008;

   •     Insurance Company of the State of Pennsylvania Policy No. 4890641, effective
         December 31, 2008 to December 31, 2009; and

   •     Lexington Insurance Company Policy No. 015542506, effective December 31, 2008
         to December 31, 2009.

                        (b)     This agreement does not constitute a stipulation by either side

                as to the amount of damages in addition to policy limits, if any, which may be

                recovered pursuant to the assignment.

                        (c)     Defendants agree that they will reasonably cooperate with

                Plaintiffs in asserting any and all of the rights assigned to Plaintiffs.

                        (d)     Plaintiffs acknowledge that this is an assignment of a claim, not

                of the Insurance Policies.        Subject to the limitations set forth below,

                Defendants agree not to take any action with regard to the Insurance Policies

                that would impair Plaintiffs’ ability to pursue the rights and claims assigned.

                This assignment does not create any further payment obligations on the part of

                Defendants other than those amounts that Cook County has agreed to pay in

                Paragraph 27 above.




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                       (e)    Defendants warrant and represent that as of the Effective Date

               of this Agreement, none of the aggregate limits of any of the above policies

               have been impaired in any way by the payment of either indemnity or defense

               costs. Defendants further warrant and represent that as of the Effective Date

               of this Agreement, they are not pursuing claims for insurance coverage to their

               insurers under the Insurance Policies, other than in connection with Young v.

               County of Cook, et al., and Michael Parish et al., v Sheriff of Cook County and

               County of Cook, Case No. 07 CV 4369 (N.D. Ill.). Plaintiffs further warrant

               and represent that as of the Effective Date of this Agreement, Defendants have

               not assigned any rights under the above policies to any party(ies) other than

               Plaintiffs.

                       (f)    Notwithstanding any language to the contrary, nothing herein

               shall preclude Defendants, after the Effective Date of this Agreement, from

               providing notice of any claims to any or all of the insurers under the Insurance

               Policies. Nor shall Defendants be precluded, after the Effective Date of this

               Agreement, from pursuing or preserving any claims for insurance coverage

               under the Insurance Policies, subject to the limitation below in paragraph g.

               regarding the following aggregate limits (collectively, the “Aggregate

               Limits”):


                              (1)    the $5,000,000 “Errors and Omissions Liability
                       Aggregate, other than personal injury offense wrongful acts” in the
                       2003-04 Insurance Company of the State of Pennsylvania (“ICOSP”)
                       Special Excess Liability Policy for Public Entities and the $5,000,000
                       “Annual Aggregate” in the 2004-05 ICOSP Excess Liability Policy;

                              (2)      the $10,000,000 “Errors and Omissions Liability
                       Aggregate, other than personal injury offense and advertising injury
                       offense wrongful acts” in the 2006-07, 2007-08, and 2008-09 ICOSP
                       Special Liability Excess Policies for Public Entities;



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                              (3)   the $10,000,000 “Errors and Omissions Liability
                      Aggregate, other than personal injury offense and advertising injury
                      offense wrongful acts” limits in the 2006-07 and 2007-08, and 2008-
                      09 Lexington Insurance Company (“Lexington”) Excess Liability
                      policies; and

                               (4)   the (i) $10,000,000 “Class Action Strip Search or Body
                      Cavity Search Liability Aggregate” in the 2008-09 ICOSP Special
                      Liability Excess Policy for Public Entities; and (ii) $10,000,000 “Class
                      Action Strip Search or Body Cavity Search Liability Aggregate” in the
                      2008-09 Lexington Excess Liability policy.

                      (g)    For a period of six months from the Court’s final approval of

               this Agreement, Defendants shall not accept any funds from ICOSP or

               Lexington that will reduce the Aggregate Limits. Nothing herein, however,

               precludes the County from taking any actions at any time to pursue or preserve

               their rights to any of the Aggregate Limits. Similarly, other than during the

               foregoing six month period, nothing herein precludes the County from

               accepting or otherwise receiving any funds from ICOSP or Lexington that

               would reduce the Aggregate Limits.       If, however, the County accepts or

               receives funds from ICOSP or Lexington that would reduce the Aggregate

               Limits, the following procedures and requirements will apply:


                  (1) The County shall give Plaintiffs’ counsel Loevy & Loevy notice of the

                      actual receipt of funds that reduce the Aggregate Limits. Such notice

                      shall be given to Loevy & Loevy within 30 days after the Director of

                      the Department of Risk Management of the Cook County Bureau of

                      Finance receives actual knowledge of the actual receipt of such funds.

                  (2) Within 30 days of receipt of such notice from The County, either party

                      may initiate a binding arbitration seeking declaratory relief with

                      respect to the following questions: (a) do the Insurance Policies

                      provide coverage, and if so to what extent, for the claims in Young v.


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                     County of Cook that are subject to the Aggregate Limits, and (b) do the

                     funds received by the County as identified in the foregoing notice

                     implicate the Aggregate Limits, such that the County’s receipt of those

                     funds has reduced the amounts available to pay Plaintiffs for covered

                     claims subject to those same Aggregate Limits (together, g(2)(a) and

                     (b) are referred to as the “Coverage Questions”).

                  (3) Any such arbitration must be filed within the 30-day time period set

                     forth above, unless otherwise agreed to in writing by the parties.

                     Either party may commence the arbitration by filing a written demand

                     for arbitration with the American Arbitration Association. The

                     arbitration shall be conducted in Chicago, Illinois in accordance with

                     the American Arbitration Association Commercial Arbitration Rules

                     and procedures in effect at the time of filing of the demand for

                     arbitration.

                  (4) If the arbitrator answers the Coverage Questions in paragraph (g)(2)

                     above in the affirmative, then the County shall be required to pay to

                     Plaintiffs that portion of the Aggregate Limits that were eroded by the

                     County’s receipt of funds, but only to the extent that Plaintiffs would

                     have been entitled to those funds pursuant to the assigned claims had

                     the Aggregate Limits not been eroded.

                  (5) In any such arbitration, the County may assert any and all arguments

                     that it, ICOSP, or Lexington may have as to why insurance coverage

                     may not exist for the assigned claims in Young v. County of Cook. No

                     prior statements, correspondence, or other communications (whether or

                     oral or written) regarding insurance coverage positions or theories



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                     made or taken by either of the Parties shall be admissible as evidence

                     or used against one of the Parties in any other way in connection with

                     the arbitration.

                  (6) Plaintiffs shall use their best efforts to diligently pursue any claims

                     assigned herein directly against ICOSP and Lexington. If Plaintiffs at

                     any time enter into a settlement agreement with ICOSP or Lexington

                     regarding coverage under the Insurance Policies for the claims

                     assigned herein and which does not expressly reserve the issue of the

                     Coverage Questions for monies that were previously paid to the

                     County under this paragraph (g) that reduced the Aggregate Limits,

                     then these arbitration procedures shall be null and void, and Plaintiffs

                     shall not be permitted to recover any funds from the County with

                     respect to the Aggregate Limits or otherwise. If Plaintiffs enter into a

                     settlement agreement that expressly reserves the Coverage Questions,

                     then in any arbitration pursuant to this section, Plaintiffs shall bear the

                     burden of not only prevailing on the Coverage Questions, but shall also

                     bear the burden of proving that the Plaintiffs would have settled for

                     more had the County not impaired the Aggregate Limits, and by how

                     much. The County may make any and all arguments in the arbitration

                     that any settlement agreement with ICOSP or Lexington was sufficient

                     to compensate the Plaintiffs for all claims assigned herein, and that the

                     County should not have to pay any additional monies to Plaintiffs from

                     any funds that the County received from ICOSP or Lexington that

                     reduced the Aggregate Limits.




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                       (7) If, prior to the conclusion of any arbitration set forth above, Plaintiffs’

                           claims against ICOSP or Lexington reach a judgment that decides any

                           of the Coverage Questions, that judgment shall be binding on the

                           parties with respect to the questions that were to be decided in the

                           arbitration. If any such judgment is being appealed, either party may

                           seek relief to stay or continue the arbitration until the resolution of any

                           such appeal.

                           No restrictions apply to the County’s ability to accept insurance

                           proceeds under the Insurance Policies or any other policies that do not

                           reduce the Aggregate Limits, and none of the foregoing procedures

                           apply to the County’s acceptance of any such insurance proceeds.


                           (h)     Plaintiffs agree that, as part of any settlement or other

                 agreement with ICOSP, Lexington, or any related entities of these insurers

                 (collectively, the “Insurers”), they shall not enter into any agreement involving

                 any of the Insurers buying back any or all of the Insurance Policies. Similarly,

                 Plaintiffs agree that, as part of any settlement or other agreement with the

                 Insurers, Plaintiffs shall not release any rights under the Insurance Policies to

                 insurance coverage, other than those rights assigned to Plaintiffs herein for the

                 Young v. County of Cook, et al. matter.

                 29.       All costs of sending the Mailed Notice and Claim Form and

   administering the Settlement will be paid out of the Settlement Fund. Defendants shall

   provide sufficient funds for the Claims Administrator to send out the Mailed Notice and

   Claim Form no later than seven (7) days before the Mailed Notice Date. The Claims

   Administrator will perform all work necessary to send the Mailed Notice and Claim Form to

   the Settlement Class Members and administer the settlement and the Settlement Fund. The


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   Parties will provide to the Claims Administrator an agreed list of members of the Settlement

   Classes (“Class List”) based upon a careful analysis of the Cook County Department of

   Corrections booking records produced by Defendants in this litigation (hereinafter, “CCDOC

   records”) and the offense classification chart for the Illinois Criminal Code that is prepared

   by the Administrative Office of the Illinois Courts (hereinafter, “AOIC table”), to determine

   the list of individuals who fall into one or both of the Settlement Classes. Where charge data

   or offense classification data was either unavailable or inconclusive, the following

   assumptions were used to determine class eligibility: (i) if a statutory charge was ambiguous,

   such that it was capable of being either a felony or a misdemeanor depending on the nature

   and circumstances of the specific alleged offense, then in the case of those ambiguous

   charges that most frequently appeared in the CCDOC records, the ambiguous charges were

   treated as felony charges, and for all remaining ambiguous charges, the offense classification

   assigned to that specific charge by CCDOC for any given detainee at the time of the

   detainee’s admission was used; (ii) if a charge listed in the CCDOC records did not appear in

   the AOIC table, then the offense classification assigned to that specific charge by CCDOC at

   the time of the detainee’s admission was used; and (iii) if the offense classification of a

   particular charge is elevated by statute from misdemeanor to felony where the individual had

   a prior conviction for that same offense, then in instances in which a detainee was admitted to

   CCDOC during the class period more than once for such a charge, that charge is treated as a

   misdemeanor during that particular detainee’s first admission during the class period and as a

   felony during that particular detainee’s second or subsequent admission during the class

   period on that charge.

                  30.       The Named Plaintiffs’ incentive awards (“Incentive Awards”) will be

   paid out of the Settlement Fund. Subject to Court approval, each of the nine Named Plaintiffs

   will each be paid an additional $25,000 as an award for services provided to the class and in



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   recognition of the time, effort, and substantial benefits conferred to the Classes as a result of

   their involvement. Such awards shall not affect the Named Plaintiffs’ right to seek payment

   as a Settlement Class Member, except in the case of Named Plaintiffs Allen Gorman and

   William Jones, who shall not submit Claim Forms as Settlement Class Members but who

   shall receive payment in addition to the Incentive Awards by Defendants in the full amount

   of the jury awards awarded on their individual claims, which amounts shall not be paid from

   the Settlement Fund. The Claims Administrator shall comply with the Internal Revenue

   Code and may issue IRS Form 1099-MISC where appropriate.

                  31.     Each Settlement Class Member who is not a Named Plaintiff and who

   testified at the August 2009 trial in this Action shall each be paid an additional $10,000 as an

   award (“Testifying Class Member Incentive Award”) for services provided to the class and in

   recognition of the time, effort, and substantial benefits conferred to the Classes as a result of

   their involvement. Specifically, an award of $10,000 each shall be paid to Paul Beck, Bobby

   Bishop, Robert Brown, Robert Consiglio, James Curran, Michael Higgs, John Jacobsen,

   Derrick Jones, Dennis Maimonis, Darryl Paul, Osbaldo Santiago, Eric Slapak, Del Wilson,

   and Rickey Winfield. Such awards shall not affect these Settlement Class Members’ right to

   submit Claims Forms and seek payment as Settlement Class Members. The Claims

   Administrator shall comply with the Internal Revenue Code and may issue IRS Form 1099-

   MISC where appropriate.

                  32.     Each individual who submitted his claim for damages to be tried

   individually in March and April of 2010 shall be paid by the Defendants for the full amount

   of the jury awards on his claim. The awards (“Individual Damage Awards”) are as follows:

   Allen Gorman, $42,000.00; Daniel Coleman, $40,000.00; Robert Brown, $40,000.00;

   William Jones, $25,000.00; Gerardo Aranda, $32,500.00; Vincent Jackson, $25,000.00;

   David Malcom, $65,000.00; Martin Medina, $65,000.00. The Individual Damage Awards



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   shall not be paid out of the Settlement Fund. Defendants shall pay the Individual Damage

   Awards within twenty-one (21) days of the entry of the Preliminary Approval Order. The

   foregoing individuals who will be paid the Individual Damage Awards shall provide counsel

   for Defendant Cook County with their address and either a social security number or I-TIN

   (e.g., through a sworn statement or a W-9 form) at least seven (7) days prior to the issuance

   of payment, so that Defendants can satisfy any federal reporting requirements, or if these

   individuals do not submit this information, their respective Individual Damage Awards may

   be subject to backup withholding but only to the extent permitted under federal law. Such

   individuals may seek a refund from the federal or state government.

                  33.     Class Counsel’s attorneys’ fees, costs, and expenses will be paid out of

   the Settlement Fund. Class Counsel shall seek from the Court an award of actual costs

   incurred in this matter, along with attorneys’ fees of up to one-third of the Settlement Fund

   (collectively hereinafter, the “Attorneys’ Fee Award”). Defendants shall not oppose Class

   Counsel’s petition for the Attorneys’ Fee Award. The final determination of the Attorneys’

   Fee Award will be decided by the Court during the Final Approval Hearing. The Attorneys’

   Fee Award will be disbursed to Class Counsel at such time as provided in Paragraph 42

   below.

                  34.     Payments to eligible Settlement Classes Members who submit timely

   and valid Claim Forms shall be determined as follows: Men who were strip-searched one or

   more time(s) who satisfy the definition of Settlement Class II shall be entitled to an estimated

   payment (subject to adjustment) of $1,000. Men who were strip-searched one or more times

   who satisfy the definition of Settlement Class I but not Settlement Class II shall be entitled to

   an estimated payment (subject to adjustment) of $700. Women who were strip-searched one

   or more times who satisfy the definition of Settlement Class II shall receive estimated

   payment (subject to adjustment) of $500.



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                  35.     The following drug- or weapon-related offense shall be considered

   ineligible under the definition of Settlement Class II: 720 ILCS 5/12-2(a)(1) Aggravated

   assault; 720 ILCS 5/24-1 Unlawful Use of Weapon; 720 ILCS 5/21-6 Unauthorized

   Possession or Storage of Weapons; 720 ILCS 5/33F-3 Unlawful Use of Body Armor; 720

   ILCS 550 Cannabis Control Act; 720 ILCS 570 Illinois Controlled Substances Act; 720 ILCS

   646 Meth Control & Community Protection Act; 720 ILCS 647 Meth Manufacturing Chem.

   Retail Sale Control Act; 720 ILCS 648 Meth Precursor Control Act; 720 ILCS 690 Use of

   Intoxicating Compounds Act; 720 ILCS 635 Hypodermic syringes and needles Act; and 720

   ILCS 600 Drug Paraphernalia Control Act.

                  36.     In the event that the payment amounts required by Paragraph 37

   exceed the funds remaining in the Settlement Fund after payment of other amounts provided

   for in Paragraphs 29, 30, 31, 33, and 42, payments to Settlement Class Members shall be

   reduced pro rata to distribute the shortfall.

                  37.     In the event that, following the payment of the other amounts specified

   in paragraphs 29, 30, 31, 33, and 42, the number of valid Claim Forms does not consume the

   entire remainder of the Settlement Fund, then Defendant County of Cook may exercise the

   right to receive a reversion of up to $5 million from such surplus. It is expressly understood

   that any such reversion will be paid from the monies that the County contributed to the

   Settlement Fund in excess of the $40 million in self-insured retention (“SIR”) funds offered

   in its attempts to obtain policy limits from its insurers. In addition, any remaining surplus in

   the Settlement Fund following the reversion shall be distributed in pro rata amounts to each

   Settlement Class Member who is eligible for payment amounts under Paragraphs 34 and 39-

   41.

                  38.     The payment amounts to Settlement Class Members, as set forth in

   Paragraph 34, 36, and 37, are not affected by the number of strip-searches to which a



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   Settlement Class Member has been subjected. Settlement Class Members shall receive the

   same payment amount under this Settlement regardless of the number of times they were strip

   searched. Settlement Class Members shall receive the highest payment amount to which they

   are eligible based on any one admission to Cook County Jail during the class period. For

   example, a Settlement Class Member who meets the definition of Class II on a particular

   admission date and who meets the definition of only Class I on another admission date shall

   be entitled to payment as a member of Class II.

                ADDITIONAL CLAIMS ADMINISTRATION PROCEDURES

                  39.     Settlement Claims shall be denied if the information in the Class List

   indicates that the Claimant is not eligible for payment. For purposes of calculating the claim

   payments, the information in the Class List shall control and may not be challenged by

   Claimants except as otherwise specifically provided in this Agreement. The Claims

   Administrator shall provide copies of all Claim Forms (including any related documents and

   non-privileged communications from claimants) to Class Counsel and Defendant’s counsel

   on a weekly basis, and in any event by no later than seven (7) days after the deadline for

   submitting claims. Within seventy-seven (77) days of the final date of submission of Claim

   Forms, as set forth in Paragraph 24, the Claims Administrator shall provide to Class Counsel

   and Defendant’s counsel a list of the Settlement Class members who submitted Claim Forms,

   along with (1) the Claims Administrator’s initial proposal for which Claim Forms are valid

   and timely, and (2) the proposed payments for each of the claimants. Class Counsel and

   Defendants’ counsel shall have twenty-one (21) days thereafter in which to confer regarding

   (1) which Claim Forms are valid and timely and (2) the appropriate payments (if any) for

   each claim. If Class Counsel and counsel for Defendant cannot agree on whether any

   particular claim is entitled to payment under the settlement, they shall submit the issue to the

   Court. The Court’s decision shall be final, binding, and non-appealable.



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                  40.     Where the Claims Administrator, in its discretion, elects to notify the

   Claimant of a defect in the Claim Form, such as the failure to sign the Claim Form, such

   notification must be mailed as soon as practicable upon the Claims Administrator’s receipt of

   the Claim Form, and in no event may the deficiency notice be mailed later than eighty-two

   (82) days after the Mailed Notice Date. The Claimant shall have twenty-one (21) days from

   the date the deficiency notification was mailed to cure the defect. The Claims

   Administrator’s failure to timely notify a Settlement Class Member of a potential defect in

   that individual’s Claim Form will mean that the alleged deficiency must be disregarded for

   purposes of determining eligibility for payment awards. The Claims Administrator may, in

   its discretion, disregard any deficiency in the Claim Form for purposes of determining

   eligibility for payment.

                  41.     Within one hundred and ten (110) days of the Mailed Notice Date, the

   Claims Administrator shall mail to all Claimants who submitted Claim Forms a notice

   informing the Claimant of the determination as to whether, and how much money (if any), he

   or she is entitled to receive under the Settlement, but this notice shall be sent only to those

   Claimants for whom the Claims Administrator has made a determination about eligibility for

   payment that is different from, or inconsistent with, the information claimed by the claimant

   on his or her Claim Form. The letter shall also advise the Claimant that he or she may object

   to the amount of the payment, or to the denial of payment, by mailing to the Claims

   Administrator, within twenty-two (22) days after the date that the Claims Administrator mails

   the notice, a written and signed statement setting forth the basis for that objection, including

   any documents that support the Class Member’s objection, such as charging documents or

   court papers. Any objection to the aforementioned notice regarding payment amount that is

   not postmarked within that twenty-two (22) day period shall be waived. The only valid basis

   for an objection is that the criteria set forth in Paragraphs 34 and 35 were not properly applied



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   to the Claimant. The Claims Administrator shall forward any objections to Class Counsel

   and counsel for Defendant within three (3) days of receipt. The Parties shall seasonably

   report to the Court any objections that have been submitted and seek the Court’s resolution of

   these objections no later than fourteen (14) days after the postmark deadline for the

   submission of these objections. The Parties shall also report to the Court regarding their joint

   or respective recommendation for resolution of each of the objections.

                  42.     Defendant will pay the Attorneys’ Fee Award, the Incentive Awards,

   and the Testifying Class Member Incentive Awards within thirty-seven (37) days after the

   Final Approval Order is entered.

                  43.     Defendants will fund the remainder of the Settlement Fund within

   eighty-five (85) days after the entry of the Final Approval Order, which amount the Claims

   Administrator shall hold in trust and distribute in accordance with the terms of this

   Agreement.

                  44.     The Claims Administrator shall distribute payments within ninety-one

   (91) days of the entry of the Final Approval Order to each Settlement Class Member who

   submitted a valid Claim Form. The check will be mailed to the Settlement Class Member at

   the address indicated on the Claim Form. The Claims Administrator will be responsible for

   all tax withholding and reporting as required by law, including for issuing any necessary IRS

   1099 form(s) to Settlement Class Members. All checks issued to the Settlement Class

   member claimants in accordance with this Paragraph shall indicate on their face that they are

   void after one hundred and eighty (180) days from the date issued (“Void Date”). Any

   monies received as a result of the Assigned Claims, net of attorneys’ fees and costs and

   claims administration costs, as specified in Paragraphs 29 and 33, will be distributed pro rata

   as an additional payment to the Settlement Class Members who submitted valid Claim Forms

   and to whom payment awards were issued pursuant to paragraph 44.



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                  45.      Reversion of funds to the Defendant, if any, as set forth in Paragraph

   37, shall occur no earlier than thirty (30) days following the Void Date. Any monies that

   remain in the Settlement Fund from unclaimed checks that become void and that are not

   subject to reversion shall be distributed to Program Services at Cook County Jail, for use for

   counseling, recreation, skills, training, and the like for detainees.


                                   ATTORNEYS’ FEE AWARD
                  46.      Class Counsel will petition the Court for an order awarding attorneys’

   fees in an amount no greater than one-third of the Settlement Fund and for actual costs

   incurred in this matter. The terms of this Agreement are not conditioned upon any minimum

   or maximum Attorneys’ Fees Award, or upon the payment of any Incentive Award or claims

   payment to any Named Plaintiffs. Defendants, the Named Plaintiffs, and Class Counsel

   agreed to all substantive terms of the settlement with respect to members of the Settlement

   Classes prior to reaching an agreement concerning attorneys’ fees and costs. The Named

   Plaintiffs and Class Counsel do not condition their willingness to enter into, or perform

   under, this Settlement Agreement on any agreement or accord regarding the attorneys’ fees or

   costs of Class Counsel, or the Named Plaintiffs’ Incentive Awards. Class Counsel shall

   receive from the Settlement Fund the amount of attorneys’ fees and costs approved by the

   Court, but in no event more than one-third of the Settlement Fund plus actual costs, by the

   due dates provided herein. Such fees and costs are inclusive of all efforts heretofore

   expended by Class Counsel and any other attorneys acting on behalf of the Named Plaintiffs

   and Settlement Classes, up to and including the execution of this Settlement Agreement, and

   further include all services to be performed by Class Counsel in effectuating this Settlement

   Agreement. Class Counsel will also be eligible to receive as Attorneys’ Fees up to one-third

   of the amount recovered from the Defendants’ insurers if Plaintiffs recover any funds in the

   action on the Assigned Claims.


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                        Final Approval, Dismissal of Claims, and Releases

                  47.     If after conducting the Final Approval Hearing, the Court grants final

   approval of this Agreement (including any modifications thereto made by the Parties as

   provided for herein), the Parties will request that the Court enter a final order (the “Final

   Order and Judgment”) that, among other things:

                          (a)     certifies the Settlement Classes for settlement purposes only,

                                  and finds that the Court has personal jurisdiction over all

                                  members of the Settlement Classes and that the Court has

                                  subject matter jurisdiction to approve this Agreement and all

                                  exhibits thereto;

                          (b)     gives final approval to the settlement set forth in this

                                  Agreement as fair, reasonable, and adequate as to the Named

                                  Plaintiffs and the Settlement Classes, and in their best interests,

                                  and in compliance with all requirements of due process and

                                  federal law, and directs the Parties and their counsel to

                                  implement and consummate this Agreement and direct the

                                  administration of the settlement in accordance with its terms

                                  and provisions;

                          (c)     declares this Agreement and the Final Order to be binding on,

                                  and have res judicata and preclusive effect in, all pending and

                                  future lawsuits or other proceedings encompassed by the

                                  Release (as set forth in Paragraphs 49 and 50) maintained by or

                                  on behalf of the Named Plaintiffs and all other members of the

                                  Settlement Classes, as well as their heirs, executors and

                                  administrators, successors, and assigns;



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                     (d)   finds that the Mailed Notice, Published Notice, and Notice Plan

                           implemented pursuant to this Agreement (i) constituted the best

                           practicable notice; (ii) constituted notice that is reasonably

                           calculated, under the circumstances, to apprise members of the

                           Settlement Classes of the pendency of the Action, their right to

                           object or exclude themselves from the proposed settlement and

                           to appear at the Final Approval Hearing, and their right to seek

                           monetary and other relief; (iii) were reasonable and constituted

                           due, adequate, and sufficient notice to all persons entitled to

                           receive notice; and (iv) met all applicable requirements of due

                           process and federal law;

                     (e)   finds that Class Counsel and the Named Plaintiffs adequately

                           represented the Settlement Classes for the purpose of entering

                           into and implementing the Agreement;

                     (f)   retains jurisdiction over this Action until all aspects of the

                           settlement of this Action, including any proceedings on the

                           Assigned Claims, are fully resolved;

                     (g)   adjudges that the Named Plaintiffs and the Settlement Classes

                           have conclusively compromised, settled, discharged, dismissed,

                           and released any and all Released Claims against the Released

                           Parties;

                     (h)   approves the payment of the Attorneys’ Fee Award to Class

                           Counsel as set forth in Paragraph 33 and 46, and the payment

                           of Incentive Awards to the Named Plaintiffs and Testifying




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                           Class Member Incentive Awards as set forth in Paragraph 30

                           and 31;

                     (i)   provides that, as set forth in Paragraphs 48-50, the Named

                           Plaintiffs and all members of the Settlement Classes who have

                           not been excluded from the Settlement Class, whether or not

                           they return a Claim Form within the time and in the manner

                           provided for, shall be barred from asserting any Released

                           Claims against the Released Parties, and any such members of

                           the Settlement Classes shall have released any and all Released

                           Claims as against the Released Parties;

                     (j)   determines that the Agreement and the settlement provided for

                           herein, and any proceedings taken pursuant thereto, are not, and

                           should not in any event be offered or received as evidence of, a

                           presumption, concession, or an admission of liability or of any

                           misrepresentation or omission in any statement or written

                           document approved or made by Defendant; provided, however,

                           that reference may be made to this Agreement and the

                           settlement provided for herein in such proceedings as may be

                           necessary to effectuate the provisions of this Agreement;

                     (k)   bars and enjoins all members of the Settlement Classes who

                           have not been excluded from the Settlement Classes from (i)

                           from filing, commencing, intervening in, or participating as

                           plaintiff, claimant, or class member in any other lawsuit or

                           administrative, regulatory, arbitration, or other proceeding in

                           any jurisdiction asserting the same claims set forth in the Fifth



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                                  Amended Complaint in this Action and/or the Released Claims

                                  (as defined in Paragraphs 49 and 50); and (ii) organizing

                                  members of the Settlement Classes who have not been

                                  excluded from the Settlement Classes into a separate class for

                                  purposes of pursuing as a purported class action lawsuit or

                                  administrative, regulatory, arbitration, or other proceeding in

                                  any jurisdiction asserting the same claims set forth in the Fifth

                                  Amended Complaint in this Action and/or the Released Claims

                                  (as defined in Paragraphs 49 and 50);

                          (l)     approves the Opt-Out List and determines that the Opt-Out List

                                  is a complete list of all Settlement Classes members who have

                                  properly and timely requested exclusion from the Settlement

                                  Classes and, accordingly, shall neither share in nor be bound by

                                  the Final Order; and

                          (m)     authorizes the Parties, without further approval from the Court,

                                  to agree to and adopt such amendments, modifications, and

                                  expansions of this Agreement and all exhibits hereto as (i) shall

                                  be consistent in all material respects with the Final Order and

                                  Judgment and (ii) do not limit the rights of members of the

                                  Settlement Classes.

                  48.     The claims released by the Named Plaintiffs and the Settlement

   Classes members as set forth in Paragraphs 49 and 50 are the “Released Claims.”

                  49.     Named Plaintiffs’ Release: As consideration for this Agreement, as of

   the date of payment of the Incentive Awards, the Named Plaintiffs, including each and every

   one of their respective agents, representatives, attorneys, heirs, assigns, or any other person



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   acting on their behalf or for their benefit hereby generally release and discharge Released

   Parties from any and all claims, demands, rights, causes of action, compensatory and punitive

   damages, attorneys’ fees, costs, debts, or liabilities which they now have, or had at any time

   prior to and through the date of this release.

                  50.     Settlement Class Members’ Release: As consideration for this

   Agreement, as of the date of payment for of the Incentive Awards, the Settlement Class

   Members, including each and every one of their respective agents, representatives, attorneys,

   heirs, assigns, or any other person acting on their behalf or for their benefit hereby generally

   release and discharge Released Parties from any and all claims, demands, rights, causes of

   action, compensatory and punitive damages, attorneys’ fees, costs, debts that were asserted in

   the Fifth Amended Complaint.

                  51.     In the event of an appeal of any aspect of the Final Order, the dates for

   payment set out herein (Paragraphs 37, 43, 44, and 45) shall be fifteen days following the

   resolution of such appeal.

                  52.     Nothing in this Agreement shall preclude any action to enforce the

   terms of the Agreement, including participation in any of the processes detailed therein.


                                    Withdrawal from Settlement

                  53.     Within fifteen (15) days of the occurrence of any of the following

   events, and upon written notice to counsel for all Parties, any Party shall have the right to

   withdraw from the settlement:

                 (a)     if the Court fails to approve the Agreement or if on appeal the Court’s

                 approval is reversed or substantially modified; or

                  (b)    if the Court materially alters any of the terms of the Agreement; or

                  (c)    if the Preliminary Approval Order, as described in Paragraph 14, or the

                  Final Approval Order, as described in Paragraph 47, is not entered by the


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                  Court, or is reversed or modified on appeal, or otherwise fails for any reason;

                  or

                  54.     If this Agreement is not approved by the Court or the settlement is not

   given approval by the Finance Committee of the Cook County Board of Commissioners, or

   otherwise fails to become effective, the orders, judgment, and dismissal to be entered

   pursuant to this Agreement shall be vacated; this Agreement shall have no further force and

   effect, and the Parties will be returned to the status quo ante with respect to the Action as if

   this Agreement had never been entered into (other than as to notice and claims administrator

   costs which may have been incurred).

                  55.     If this Agreement fails to be approved or otherwise fails to be

   consummated in accordance with its terms:

                  (a)     The Named Plaintiffs shall be entitled to continue this Action on behalf

                          of the classes in accordance with the rulings, circumstances and

                          procedural posture that existed in this Action on or about November 1,

                          2010; and


                  (b)     Defendants shall retain all rights to continue its defense to this Action

                          and to assert claims in accordance with the rulings, circumstances and

                          procedural posture that existed in this Action on November 1, 2010.


                                        Additional Provisions

                  56.     The Parties hereto shall execute all documents and perform all acts

   necessary and proper to effectuate the terms of this Agreement. The executing of documents

   must take place prior to the date scheduled for the Final Approval Hearing.




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                   57.     The Parties may not destroy documents generated related to the notice

   and administration of the Agreement until eighteen (18) months after the full resolution

   (including appeals) of any proceeding on the Assigned Claims.

                   58.     Nothing in this Agreement shall be construed to prevent Defendant

   from communicating orally, electronically, or in writing with Settlement Classes members in

   the ordinary course of business.

                   59.     All documents, papers and notices required to be given by this

   Agreement to Plaintiffs, the classes or Class Counsel shall be given to:

                                   Michael Kanovitz
                                   LOEVY & LOEVY
                                   312 N. May Street, Suite 100
                                   Chicago, Illinois 60607

  All documents, papers and notices required to be given under this Agreement to Defendant

  shall be given to:

                                   Francis Catania
                                   Assistant State’s Attorney
                                   State's Attorney's Office
                                   Richard J. Daley Center
                                   50 W. Washington Street, Room 302
                                   Chicago, IL 60602

                   60.     The Parties to this Agreement agree to cooperate in the submission of

   this Agreement to the Court and will recommend acceptance of the Agreement by all

   necessary parties. The Parties shall cooperate in taking any such other steps as may be

   requested by the Court to implement this Agreement and the settlement provided for herein.

                   61.     This Agreement shall be governed by and interpreted in accordance

   with the laws of the State of Illinois.

                   62.     The Parties to this Agreement warrant that they are executing this

   Agreement freely and voluntarily, after independently determining that its provisions are of a




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   material benefit to them, and that the duties and obligations imposed by it are fair and

   reasonable.

                  63.     The Parties to this Agreement have read and fully understand the stated

   terms and conditions, have had time to reflect on and consider the benefits and consequences

   of entering into this Settlement Agreement, and have had the opportunity to review the terms

   of this Agreement with their respective attorneys. The Parties also warrant that they have not

   entered into this Agreement in reliance upon any warranty or representation, express or

   implied, of any nature or kind by any other Party, other than the warranties and

   representations expressly made in this Agreement.

                  64.     Except as otherwise expressly provided in this Agreement, this

   Agreement constitutes the entire agreement between and among the Parties with respect to

   the settlement of the Action, and it supersedes all prior and contemporaneous written and/or

   oral agreements between the parties. All negotiations, discussions, prior understandings and

   agreements between the Parties with regard to the subject matter of this Agreement are

   merged into this Agreement, which fully, completely, and accurately states and expresses the

   Parties’ entire understandings and agreements, and may not be modified or amended except

   upon a writing signed by the Parties and their respective counsel.

                  65.     This Agreement shall not be construed more strictly against one Party

   than another merely because of the fact that it may have been prepared by counsel for one of

   the Parties, it being recognized that, because of the arms’-length negotiations resulting in the

   Agreement, all Parties hereto have contributed substantially and materially to the preparation

   of the Agreement.

                  66.     In the event that there are any developments in the effectuation and

   administration of this Agreement that are not dealt with by the terms of this Agreement, then




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   such matters shall be dealt with as agreed upon by the Parties, and, failing agreement, as shall

   be ordered by this Court.

                  67.     In the event any date or deadline set forth in this Agreement falls on a

   weekend or legal holiday, such date or deadline shall be on the first business day thereafter.

   Unless otherwise noted, all references to “days” in this Agreement shall be to calendar days.

                  68.     This Agreement may be executed in any number of counterparts, each

   of which together shall be deemed one and the same instrument. Facsimile and PDF

   signature copies are acceptable.




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